  Case: 2:23-cr-00001-MHW Doc #: 28 Filed: 05/30/23 Page: 1 of 1 PAGEID #: 110



                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America,

      v.                                           Case No. 2:23-cr-01

                                                   Judge Michael H. Watson
Michael D. Valentine,
                                     ORDER
      There being no objections, and upon review of the Information, Plea

Agreement, and Report and Recommendation of the Magistrate Judge ("R&R")
the Court hereby adopts the R&R, ECF No. 23. The Court accepts Defendant's

plea of guilty to Counts 1 and 2 of the Information, and he is hereby adjudged
guilty on those counts. The Court will defer the decision ofwhether to accept
the plea agreement until the sentencing hearing.

      IT IS SO ORDERED.



                                      MCHAELH. W TSON, JUDGE
                                      UNITED STATES DISTRICT COURT
